      Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 1 of 37




                            UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



DR. ALAN SACERDOTE, et al.,

                      Plaintiffs,

v.
                                                             Case No.: l:16-cv-06284

NEW YORK UNIVERSITY,


                      Defendant.




              NON-PARTY TIAA'S OBJECTIONS AND RESPONSES TO
        PLAINTIFFS' SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION,
     OR OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

        Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Teachers Insurance and


Annuity Association of America ("TIAA"), an organization that operates on a not-for-profit


basis and is a non-party to the litigation captioned Dr. Alan Sacerdote, et al. v. New York


University (the "Action"), hereby sets forth its Objections and Responses to Plaintiffs' Subpoena

to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil


Action, dated August 14, 2017 (the "Subpoena"), including the definitions and instructions


therein (the "Objections and Responses").


        These objections and responses are based upon information reasonably available and


specifically known to TIAA and its attorneys as of the date of service. TIAA reserves the right


to supplement, amend, modify, or correct its objections and/or responses after considering


information obtained through further investigation.


        Pursuant to an agreement with Plaintiffs' counsel on August 18, 2017, TIAA is producing

today, September 1 8, a set of priority documents requested by Plaintiffs. TIAA anticipates


making its first production of additional responsive materials on October 2, 2017, and will




                                                                                               EX. 2
    Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 2 of 37




continue to make rolling productions of responsive materials thereafter. Subject to additional


meet and confers with Plaintiffs' counsel regarding the scope of production (addressed in *f 1 1

infra), and consistent with the September 1 1, 2017 meet and confer teleconference, TIAA


anticipates completing its production of materials responsive to the Subpoena, including ESI,


approximately 60 days from the service of these Objections and Responses (November 17,


2017), with the exception of certain documents requiring redactions. TIAA will timely inform


Plaintiffs' counsel if it determines that a material extension of this timeline is necessary.

                                     GENERAL OBJECTIONS


        1.        TIAA's General Objections, as set forth herein, are continuing and apply to each


specific definition, instruction, and request for production contained in the Subpoena, whether or


not the General Objections are referenced in the specific response. TIAA's objections herein


shall not waive or prejudice any further objections TIAA may later assert. The absence of a


particular General Objection from a particular response should not be construed as a waiver of


that objection.


        2.        TIAA objects to the Subpoena to the extent that it purports to impose


requirements that are inconsistent with, or beyond those contemplated or set forth by the Federal

Rules of Civil Procedure, the Local Rules of the Southern District of New York, this Court's


individual rules, any Court order, any other applicable law, or any agreement between counsel.

TIAA will construe and respond to the Subpoena in accordance with the requirements of the


Federal Rules of Civil Procedure, the Local Rules of the Southern District of New York, this


Court's individual rules, apy Court order, any other applicable law, or any agreement between


counsel.




                                                   2




                                                                                                   EX. 2
    Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 3 of 37




       3.      TIAA objects to the Subpoena to the extent that it purports to impose on TIAA a


duty to search for, secure, and produce documents or things not within its possession, custody, or

control. Specific objections or statements that TIAA will only search for and produce documents


that are within its possession, custody, or control are provided for emphasis and clarity only, and

the absence of such a specific objection or statement shall not be interpreted as evidence that

TIAA will produce documents or things that are not within its possession, custody, or control.


       4.      TIAA objects to the Subpoena to the extent that it purports to seek discovery of


documents that are in the possession, custody, or control of TIAA's affiliates or subsidiaries

having corporate identities separate and distinct from TIAA that are not in TIAA's possession,


custody, or control.


       5.      TIAA objects to the Subpoena to the extent that it purports to require the


production of documents that are protected by the attorney-client privilege, the attorney work-


product doctrine, and/or any other additional available privilege, immunity, or protection or the


disclosure of which is not permitted by federal, state, or any other applicable law or regulation,


including those governing nonpublic supervisory information. Specific objections on the


grounds of privilege are provided for emphasis and clarity only, and the absence of such a


specific objection shall not be interpreted as evidence that TIAA does not object to a request on


the basis of an applicable privilege, immunity, or protection. TIAA will not produce any


documents or information that are privileged or otherwise protected from discovery by the


attorney-client privilege, work product doctrine, or other applicable privilege or immunity, or the

disclosure of which is not permitted by federal, state, or any other applicable law or regulation,


including those governing nonpublic supervisory information, and will redact any such


information that is included in documents produced in response to this Subpoena.




                                                  3




                                                                                                  EX. 2
    Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 4 of 37




       6.      Any disclosure of any privileged information in response to the Subpoena shall

not be deemed or construed to constitute (i) a waiver of any privilege or any other doctrine

protecting against disclosure; or (ii) a waiver of the right to object to the use of any document or

information produced in response to the requests. TIAA has not previously waived any


applicable privilege and specifically states that it does not intend to do so through the production

of any documents or information in response to the Subpoena. If any privileged information or

material is disclosed, such disclosure is not intentional and the Protective Order entered on

February 23, 2017 [Dkt. 58] governs any such disclosure.


        7.     TIAA objects to the Subpoena as overbroad and unduly burdensome to the extent


it purports to require disclosure of confidential, proprietary, or sensitive business information of

TIAA. To the extent the Subpoena requires the disclosure of protected material, including but


not limited to trade secrets, confidential information, proprietary information, or any information


implicating privacy interest, TIAA's response and production shall be subject to the Protective


Order entered in this Action on February 23, 2017 [Dkt. 58].


        8.     TIAA objects to the Subpoena to the extent that it purports to require the


disclosure of confidential, proprietary, or personal information of another third party, including

but not limited to personally identifiable financial information, the disclosure of which is not


permitted by reason of contract, privacy laws, or any other binding legal obligation. TIAA states

that, upon entry of a Supplemental Protective Order by the Court requiring the parties to redact


personally identifiable information from documents produced by TIAA before publicly


disclosing those documents (e.g., as attachments to documents filed on the public docket), TIAA


will produce documents without redacting personally identifiable information. To the extent that


TIAA has already produced documents containing redactions of personally identifiable




                                                  4




                                                                                                   EX. 2
    Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 5 of 37




information, TIAA will reproduce documents without such redactions upon entry of the Court's

Supplemental Protective Order.


       9.         TIAA objects to the Subpoena to the extent it seeks documents that are not


relevant to any party's claim or defense or that are not proportional to the needs of the case,

considering the importance of the issues at stake in the action, the amount in controversy, the

parties' and non-parties' relative access to relevant information, the parties' and non-parties'

resources, the importance of the discovery in resolving issues, and whether the burden or

expense of the proposed discovery outweighs its likely benefit. To the extent TIAA produces

documents in response to the Subpoena, TIAA does not concede that the documents are relevant

to this Action.


        10.       TIAA objects to the Subpoena to the extent that it purports to require the

production of information or documents that are already in the possession of parties to the


Action, primarily or exclusively within the parties' knowledge or control, obtainable from some


other source that is less burdensome or less expensive, or already produced by or requested from


other parties. The parties to this action are obligated to take reasonable steps to avoid imposing


undue burden or expense on TIAA, a non-party which operates on a not-for-profit basis.


        11.       TIAA objects to the Subpoena to the extent that it seeks "all," each," "any," or


"every" referenced document on the grounds that such requests are overbroad and unduly


burdensome, seek irrelevant information, are not proportional to the needs of the case, and seek


to impose obligations on TIAA beyond those imposed by law. TIAA will construe the terms of

the Subpoena to request that TIAA use reasonable diligence to locate responsive non-privileged


documents, based upon inquiry of those persons who may reasonably be expected to possess


such documents and based upon examination of those sources that may reasonably be expected




                                                    5




                                                                                                     EX. 2
    Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 6 of 37




to yield such documents. TIAA may also respond to the Subpoena by applying search terms to

locate potentially responsive electronic documents pursuant to a methodology agreed to with

Plaintiffs' counsel. TIAA and Plaintiffs' counsel held a telephonic meet and confer session on

September 1 1, 2017, prior to service of these Objections, to discuss potential search terms and

the scope of TIAA's search of electronically stored information ("ESI"). Pursuant to that

discussion, on September 1 1, 2017, TIAA circulated to Plaintiffs' counsel a list of proposed

search terms. The search terms TIAA proposed are listed in Exhibit 1 . In a response dated


September 13, 2017, Plaintiffs' counsel proposed additional terms, which TIAA agreed to


include. The additional terms proposed by Plaintiffs' counsel are listed in Exhibit 2.


        12.    TIAA objects to the Subpoena to the extent that it seeks documents and


communications that are internal to TIAA and were not shared with NYU or CLC on the grounds

that such requests are overbroad and unduly burdensome, seek irrelevant information, and are

not proportional to the needs of the case and TIAA's status as a non-party. Such documents and


communications are not relevant to any party's claim or defense, as internal TIAA documents


and communications not shared with NYU and/or CLC could not have informed NYU's


fiduciary process. See Arista Records LLC v. Lime Grp. LLC, No. 06 CV 5936 KMW, 201 1 WL


781 198, at *3 (S.D.N.Y. Mar. 4, 201 1) (holding that the magistrate judge's order requiring


production of non-party's internal communications was clearly erroneous where "the burden of


collecting, searching reviewing, and producing all internal communications . . . would


significantly outweigh any probative value" of documents that might relate to the plaintiffs'


conduct and attitude). Pursuant to an agreement with Plaintiffs' counsel, TIAA will not search


for internal TIAA e-mails.




                                                 6




                                                                                                EX. 2
    Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 7 of 37




       13.     TIAA objects to the Subpoena to the extent that it seeks documents and

communications between TIAA and NYU or CLC on the grounds that such documents and

communications are already in the possession of parties to the Action, primarily or exclusively

within the parties' knowledge or control, obtainable from some other source that is less

burdensome or less expensive, or already produced by or requested from other parties.

       14.     TIAA objects to the Subpoena to the extent that the Subpoena assumes the


existence of a particular claim, defense, fact, argument, or legal conclusion. No response shall

be construed as admitting a claim, defense, fact, argument, or legal conclusion.

        1 5.   TIAA objects to the Subpoena to the extent that it purports to require TIAA to


search for and produce documents, including e-mails and other electronic documents, that are not


"reasonably accessible" as that term is used in Rule 26(b)(2)(B) of the Federal Rules of Civil


Procedure.


        16.    TIAA objects to the Subpoena, including the Definitions and Instructions, and


each specific request herein, to the extent that they purport to require TIAA to create or generate


documents that do not currently exist.


        17.    TIAA objects to the Subpoena, including the Definitions and Instructions, and


each specific request herein, to the extent that they purport to require production of ESI that is


not stored on active systems, but is stored on archived systems or media that are no longer part of


normal business operations or otherwise not reasonably accessible.


        1 8.   TIAA's objections and responses, and any future agreement to search for


responsive documents, shall not be construed as representations regarding the existence or non

existence of documents in its possession, custody, or control.




                                                  7




                                                                                                 EX. 2
    Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 8 of 37




          1 9.   TIAA states that documents produced in response to the Subpoena will be

produced on a rolling basis.


          20.    Any documents produced or responses made to this Subpoena shall in no way

constitute or be construed as an admission of the relevance or admissibility into evidence of such

documents or responses, nor a waiver of any of the objections contained herein. TIAA expressly

reserves:



                 (a)    the right to object, on the grounds of competency, relevance, materiality,

privilege, or any other applicable ground, to the use of responses provided to this Subpoena or


the subject matter thereof, in any subsequent proceeding in, or the hearing of, this or any other

action;


                 (b)    the right to object on any ground to other document requests or other

discovery proceedings involving or relating to the subject matter of the Subpoena; and


                 (c)    the right to supplement its responses should further investigation disclose


additional information.


          21 .   TIAA incorporates each of the foregoing General Objections into the specific


objections set forth below, along with the objections to the Definitions and Instructions provided


hereinafter.


                          SPECIFIC OBJECTIONS TO DEFINITIONS


          1.     TIAA objects to the definition of "TIAA-CREF," "you," and "your," as there is


no legal entity by the name of "TIAA-CREF." TIAA further objects to these definitions to the

extent that they purport to broaden the obligations required by, or are otherwise inconsistent

with, the Federal Rules of Civil Procedure, the Local Rules of the Southern District of New


York, this Court's individual rules, and any other applicable rule of law, or seek documents or


information not in the possession, custody, or control of TIAA. TIAA specifically objects to



                                                  8




                                                                                                 EX. 2
    Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 9 of 37




these definitions to the extent they purport to seek discovery of documents that are in the

possession, custody, or control of TIAA's affiliates or subsidiaries having corporate identities

separate and distinct from TIAA and that are not in TIAA's possession, custody, or control.

Unless otherwise stated, TIAA will interpret the terms "TIAA-CREF,          you" and "your" to


mean TIAA. TIAA will limit its production of documents to those documents that are within

TIAA's possession, custody, or control. TIAA is not objecting to the production of responsive,

non-privileged documents relating to CREF investment products.

       2.      TIAA objects to the definition of "NYU" as overly broad and unduly


burdensome. Specifically, the definition of "NYU" to include "New York University and all of

its committees, affiliates, divisions, departments, offices, administrative units, and all present and

former officers, directors, employees, representatives, agents, and all other persons acting for and


on its behalf' seeks documents that are not relevant to any party's claim or defense or that are


not proportional to the needs of the case. TIAA will limit its production of documents to


officers, directors, employees, representatives, and agents of New York University who had a


role in or responsibility for working with TIAA on the administration of the New York


University School of Medicine Retirement Plan for Members of Faculty, Professional Research


Staff and Administration and the New York University Retirement Plan for Members of the


Faculty, Professional Research Staff and Administration (hereinafter, the "Plans").


        3.     TIAA objects to Plaintiffs' definition of "Plans" as overly broad, unduly


burdensome, and not relevant to any party's claim or defense to the extent that the inclusion of


"affiliated, predecessor, or successor plans, and all plans with which they have merged" refers to


plans other than the New York University School of Medicine Retirement Plan for Members of




                                                  9




                                                                                                   EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 10 of 37




Faculty, Professional Research Staff and Administration and the New York University

Retirement Plan for Members of the Faculty, Professional Research Staff and Administration.

       4.      TIAA objects to the definition of "Other NYU Plans" as it seeks documents that


are not relevant to any party's claim or defense or that are not proportional to the needs of the

case. There are no allegations regarding any plans other than the New York University School

of Medicine Retirement Plan for Members of Faculty, Professional Research Staff and

Administration and the New York University Retirement Plan for Members of the Faculty,

Professional Research Staff and Administration. TIAA will produce documents relating to the

Plans, as TIAA defined them at lj 2, supra.


        5.     TIAA objects to the definition of "CLC" as overly broad and unduly burdensome.


Specifically, the definition of "CLC" to include "Cammack LaRhette Consulting, a/k/a


Cammack Retirement Group, Inc. and all of its subsidiaries, divisions, affiliates, predecessors or

successors, all entities with which it has merged, and all present and former officers, directors,


employees, representatives, agents, and all other persons acting for and on its behalf' seeks


documents that are not relevant to any party's claim or defense or that are not proportional to the

needs of the case. TIAA will limit its production of documents to officers, directors, employees,


representatives, and agents of Cammack LaRhette Consulting, a/k/a Cammack Retirement


Group, Inc. who had a role in or responsibility for working with TIAA on the administration of


the Plans.


        6.     TIAA objects to the definition of "Ibbotson" as overly broad and unduly


burdensome. Specifically, the definition of "Ibbotson" to include "Ibbotson Associates and all of

its subsidiaries, divisions, affiliates, predecessors or successors (including Momingstar Inc.), all


entities with which it has merged, and all present and former officers, directors, employees,




                                                  10




                                                                                                    EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 11 of 37




representatives, agents, and all other persons acting for and on its behalf' seeks documents that

are not relevant to any party's claim or defense or that are not proportional to the needs of the

case. TIAA will limit its production of documents to officers, directors, employees,

representatives, and agents of Ibbotson Associates who had a role in or responsibility for


working with TIAA on the provision of investment advisory services to participants in the Plans.

       7.      TIAA objects to the definition of "Compensation" to the extent that the inclusion


of "indirect compensation," as defined, is vague and ambiguous.


       8.      TIAA objects to the definition of "Document" to the extent that it purports to

broaden the obligations required by, or are otherwise inconsistent with, Federal Rule of Civil

Procedure 34(a)(1)(A), the Southern District of New York Local Rule 26.3(c)(2), and any other

applicable rule of law.


        9.     TIAA objects to the definitions of "Refer to," "referring to," "relate to," "relating


to," "related to," which Plaintiffs define "to give the broadest scope to the document category"


possible. TIAA will construe this definition to request that TIAA use reasonable diligence to


locate responsive, non-privileged documents, based upon inquiry of those persons who may


reasonably be expected to possess such documents and based upon examination of those sources


that may reasonably be expected to yield such documents.


                          SPECIFIC OBJECTIONS TO INSTRUCTIONS

        1.      TIAA objects to the Instructions to the extent that they purport to broaden the


obligations required by, or are otherwise inconsistent with, the Federal Rules of Civil Procedure,


the Local Rules of the Southern District of New York, this Court's individual rules, or any other


applicable rule or law.


        2.      TIAA objects to Instruction 1 regarding documents not in TIAA's possession,


custody, or control to the extent that it seeks to impose obligations that are not required by, or are


                                                  11




                                                                                                    EX. 2
    Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 12 of 37




inconsistent with, the Federal Rules of Civil Procedure, the Local Rules of the Southern District

of New York, this Court's individual rules, or any other applicable rule or law. To the extent


TIAA identifies documents that were, but no longer are, in its possession, custody, or control,


TIAA will provide Plaintiffs with only such information as it is required to provide by the


Federal Rules of Civil Procedure, the Local Rules of the Southern District of New York, this

Court's individual rules, or any other applicable rule or law.

         3.    TIAA objects to Instruction 2 regarding redactions to the extent that it purports to


broaden the obligations required by, or is otherwise inconsistent with, the Federal Rules of Civil


Procedure, the Local Rules of the Southern District of New York, this Court's individual rules,


and any other applicable rule or law. TIAA specifically objects to this Instruction to the extent it


purports to limit TIAA's ability to redact documents on the basis of relevance or any other

appropriate basis (other than privilege or personally identifiable information related to


participants in the Plans), including but not limited to trade secret and/or confidential research,


development, or commercial information that would warrant quashing or modifying the


Subpoena pursuant to Federal Rule of Civil Procedure 45(d)(3)(B)(i). TIAA states that for those


documents that it produces in redacted form, it will include as part of each redaction a brief


descriptor—e.g., "Relevance"—of the basis for the redaction. For those documents and


information withheld as privileged, TIAA also will produce a log to the extent set forth in f 4,


infra.


         4.    TIAA objects to Instruction 3 regarding privileged documents to the extent that it


purports to broaden the obligations required by, or is otherwise inconsistent with, the Federal


Rules of Civil Procedure, the Local Rules of the Southern District of New York, this Court's


individual rules, or any other applicable rule or law. TIAA states that for those documents for




                                                  12




                                                                                                   EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 13 of 37




which it objects to production in whole or in part on the basis of attorney-client privilege,

attorney-work product doctrine, or any other privilege or immunity from disclosure, TIAA will

provide a privilege log that satisfies its obligations under the Federal Rules of Civil Procedure,

the Local Rules of the Southern District of New York, this Court's individual rules, and any

other applicable rule or law. Moreover, TIAA specifically objects to this Instruction to the

extent it seeks to impose an obligation on TIAA to prepare a privilege log for information and

documents generated after the filing of Plaintiffs' complaint. See, e.g., Capitol Records, Inc. v.


MP3 tunes, LLC, 261 F.R.D. 44, 51 (S.D.N. Y. 2009).


        5.     TIAA objects to Instruction 4 to the extent that it purports to broaden the


obligations required by, or is otherwise inconsistent with, the Federal Rules of Civil Procedure,


the Local Rules of the Southern District of New York, this Court's individual rules, or any other

applicable rule or law. TIAA's specific objections to Instruction 4 regarding the method and


format of producing documents are set forth in its objections and responses to Exhibit B, infra.

        6.     TIAA objects to Instruction 5 regarding the organization of documents to the


extent that it purports to broaden the obligations required by, or is otherwise inconsistent with,


the Federal Rules of Civil Procedure, the Local Rules of the Southern District of New York, this

Court's individual rules, or any other applicable rule or law. TIAA will produce documents


consistent with Federal Rule of Civil Procedure 45(e)(l)(A-B).


        7.      TIAA objects to Plaintiffs' definition of the relevant time period as overly broad


and unduly burdensome to the extent it purports to require TIAA to produce documents created


(i) prior to the start of the class period (August 9, 2010) and outside the relevant statute of


limitations, and (ii) after this Action was filed on August 9, 2016.




                                                  13




                                                                                                  EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 14 of 37




                          SPECIFIC OBJECTIONS TO EXHIBIT B

       TIAA objects to the instructions in Exhibit B to the extent that they purport to broaden

the obligations required by, or are otherwise inconsistent with, the Federal Rules of Civil

Procedure, the Local Rules of the Southern District of New York, this Court's individual rules,

and any other applicable rule or law. TIAA further objects to these instructions as overly broad,

unduly burdensome, and not proportional to the needs of the case. TIAA will produce

documents and ESI in a manner and format consistent with Federal Rule of Civil Procedure 45,

the Local Rules of the Southern District of New York, this Court's individual rules, and any

other applicable rule or law. TIAA is amenable to further meet and confers with Plaintiffs to

attempt to resolve any disagreements over the form of production of documents, including ESI.

        1.     TIAA objects to the instructions for "Production of Hard Copy Documents,"


"Production Format: Hard Copy Documents," and "Required Metadata for Hard Copy


Documents" for the reasons set forth supra. Pursuant to Federal Rule of Civil Procedure


45(e)(1)(A), TIAA will produce hard copy documents as they are kept in the ordinary course of


business.


        2.     TIAA objects to the instructions for "Production of Electronically Stored


Information," "Production Format: Electronically Stored Information," and "Required Metadata


for ESI" for the reasons set forth supra. TIAA also objects to these instructions as overly broad,


unduly burdensome, and not proportional to the needs of the case to the extent they call for the

production of documents in native format. TIAA will produce ESI as TIFF image files. TIAA


will produce Excel documents in native format to the extent such documents do not require

redaction. TIAA will produce any Excel documents requiring redaction as TIFF image files.

        3.      TIAA objects to the instruction for "Production of Structured Data Sources" for


the reasons set forth supra. TIAA also objects to this instruction as overly broad, unduly


                                                 14




                                                                                                  EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 15 of 37




burdensome, and not proportional to the needs of the case to the extent it calls for the production

of documents in native format. TIAA will produce ESI as TIFF image files. TIAA will produce

Excel documents in native format to the extent such documents do not require redaction. TIAA

will produce any Excel documents requiring redaction as TIFF image files.

       4.      TIAA objects to the instruction for "Processing Specifications: Redactions" to the

extent it purports to limit TIAA's ability to redact documents on the basis of relevance or any

other appropriate basis (other than privilege or personally identifiable information related to plan


participants), including but not limited to trade secret and/or confidential research, development,


or commercial information that would warrant quashing or modifying the Subpoena pursuant to


Federal Rule of Civil Procedure 45(d)(3)(B)(i). TIAA states that for those documents that it


produces in redacted form, it will include as part of each redaction a brief descriptor—e.g.,


"Relevance"—of the basis for the redaction.


        5.     TIAA objects to the instruction for "Required Metadata for ESI" for the reasons


set forth supra. TIAA will not produce metadata field names "DUPLICATE PATH/FOLDER,"


and "Redaction," as we understand such metadata fields are not kept in the ordinary course of


business.


        6.     TIAA objects to the instruction for "Privilege Logs and Production Logs" for the


reasons set forth supra. TIAA will provide a log of documents withheld or redacted on the basis


of privilege in accordance with Federal Rule of Civil Procedure 45(e)(2)(A) and Local Rule 26.2.


TIAA will provide its privilege logs on a rolling basis, in conjunction with its productions of


documents and ESI.




                                                 15




                                                                                                  EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 16 of 37




                  SPECIFIC OBJECTIONS TO DOCUMENT REQUESTS

       REQUEST NO. 1:


       Documents and Communications, including e-mail, to orfrom TIAA-CREF andfrom
or to NYU related to the Plans and/or the Other NYU Plans.

       RESPONSE TO REQUEST NO. 1;


       TIAA objects to this Request as overly broad, unduly burdensome, and not relevant to


any party's claim or defense to the extent it purports to require TIAA to produce each and every


document and communication exchanged between TIAA and NYU, without regard to such

document's or communication's relevance to the issues in the Action; namely, the Plans. To the

extent that this Request seeks documents and communications that are internal to TIAA and were

not shared with NYU or CLC, TIAA objects on the grounds that such requests are overbroad and


unduly burdensome, seek irrelevant information, and are not proportional to the needs of the case

and TIAA's status as a non-party. Pursuant to an agreement with Plaintiffs' counsel, TIAA will


not search for internal TIAA e-mails. TIAA also objects to this Request on the grounds that


documents and communications between TIAA and NYU are already in the possession of parties

to the Action, primarily or exclusively within the parties' knowledge or control, obtainable from


some other source that is less burdensome or less expensive, or already produced by or requested


from other parties.


       Subject to and without waiving the foregoing general and specific objections, TIAA


states that it will collect and search e-mail communications between (a) the TIAA relationship


managers, client services managers, and consultant relations directors responsible for the Plans


during the relevant period, and (b) NYU, for the period August 9, 2009 to the date of collection,


applying the search terms negotiated with Plaintiffs' counsel and attached as Exhibits 1 and 2.


TIAA also will search hard copy, hard drive, shared drive, and desktop files for the relationship




                                                16




                                                                                               EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 17 of 37




managers, client services managers, and consultant relations directors referenced above, as well

as TIAA's client contact management system (Salesforce).


       REQUEST NO. 2:


       Documents and Communications, including e-mail, to orfrom TIAA-CREF andfrom
or to CLC related to the Plans and/or the Other NYU Plans.

       RESPONSE TO REQUEST NO. 2:


       TIAA objects to this Request as overly broad, unduly burdensome, and not relevant to


any party's claim or defense to the extent it purports to require TIAA to produce each and every


document and communication exchanged between TIAA and CLC, without regard to such

document's or communication's relevance to the issues in the Action; namely, the Plans. To the


extent that this Request seeks documents and communications that are internal to TIAA and were

not shared with NYU or CLC, TIAA objects on the grounds that such requests are overbroad and

unduly burdensome, seek irrelevant information, and are not proportional to the needs of the case


and TIAA's status as a non-party. Pursuant to an agreement with Plaintiffs' counsel, TIAA will


not search for internal TIAA e-mails. TIAA also objects to this Request on the grounds that

documents and communications between TIAA and CLC are already in the possession of parties


to the Action, primarily or exclusively within the parties' knowledge or control, obtainable from


some other source that is less burdensome or less expensive, or already produced by or requested

from other parties.


       Subject to and without waiving the foregoing general and specific objections, TIAA


states that it will collect and search communications between (a) the TIAA relationship


managers, client services managers, and consultant relations directors responsible for the Plans


during the relevant period, and (b) CLC, for the period August 9, 2009 to the date of collection,


applying the search terms negotiated with Plaintiffs' counsel and attached as Exhibits 1 and 2.




                                                17




                                                                                               EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 18 of 37




TIAA also will search hard copy, hard drive, shared drive, and desktop files for the relationship

managers, client services managers, and consultant relations directors referenced above, as well

as TIAA's client contact management system (Salesforce).


       REQUEST NO. 3:


       Documents related to trust agreements and recordkeeping agreements between NYU
and TIAA-CREF related to the Plans.

       RESPONSE TO REQUEST NO. 3:


       TIAA objects to this Request as overly broad and unduly burdensome to the extent it

purports to seek all "documents related to" trust agreements and recordkeeping agreements

between NYU and TIAA, and to the extent it seeks trust and recordkeeping agreements relating

to NYU plans other than the Plans. To the extent this Request seeks documents and


communications that are internal to TIAA and were not shared with NYU or CLC, TIAA objects

on the grounds that such requests are overbroad and unduly burdensome, seek irrelevant


information, and are not proportional to the needs of the case and TIAA's status as a non-party.


Pursuant to an agreement with Plaintiffs' counsel, TIAA will not search for internal TIAA e-


mails. TIAA also objects to this Request on the grounds that documents and communications


between TIAA and NYU or CLC are already in the possession of parties to the Action, primarily


or exclusively within the parties' knowledge or control, obtainable from some other source that


is less burdensome or less expensive, or already produced by or requested from other parties.


TIAA objects to this Request to the extent that it purports to require the production of documents


that are protected by the attorney-client privilege, the attorney work-product doctrine, and/or any

other additional available privilege, immunity, or protection or the disclosure of which is not


permitted by federal, state, or any other applicable law or regulation.




                                                 18




                                                                                                  EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 19 of 37




       Subject to and without waiving the foregoing general and specific objections, TIAA

states that it will produce trust and recordkeeping agreements between NYU and TIAA for the

Plans during the period August 9, 2009 to present. To the extent this Request seeks documents

and communications between TIAA and NYU or CLC, TIAA refers Plaintiffs to its responses to

Request Nos. 1 and 2.


       REQUEST NO. 4;


        Documents related to all Compensation TIAA-CREF received, directly or indirectly, as
a result of the Plans and/or the Other NYU Plans. By way of example only, this request
includes:
               (a)      Invoices;
               (b)      Fee transparencies, Fee Analyses;
               (c)      Relationship Pricing Analyses;
               (d)      Client Report Cards;
               (e)      Rebates, credits, fee recapture, or return of Compensation to NYU, the
              Plans and/or Other NYU Plans;
              (f)    Multi-Practice Reports;
               (g)      Action Plans; and
               (h)      Recordkeeping-Only cost analysis reports.

       RESPONSE TO REQUEST NO. 4:


       TIAA objects to this Request as overly broad and unduly burdensome to the extent it


purports to seek all "documents related to" compensation TIAA received. TIAA objects to the


term "multi-practice reports" as vague and ambiguous. To the extent this Request seeks


documents and communications that are internal to TIAA and were not shared with NYU or


CLC, TIAA objects on the grounds that such requests are overbroad and unduly burdensome,

seek irrelevant information, and are not proportional to the needs of the case and TIAA's status


as a non-party. Pursuant to an agreement with Plaintiffs' counsel, TIAA will not search for


internal TIAA e-mails. TIAA also objects to this Request on the grounds that documents and


communications between TIAA and NYU or CLC are already in the possession of parties to the


Action, primarily or exclusively within the parties' knowledge or control, obtainable from some




                                                19




                                                                                              EX. 2
     Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 20 of 37




other source that is less burdensome or less expensive, or already produced by or requested from

other parties.


        Subject to and without waiving the foregoing general and specific objections, TIAA

states that it is producing annual Form 5500 report packages and ERISA §§ 404(a)(5) and

408(b)(2) fee disclosures for the Plans, which are sufficient to show all compensation TIAA


received relating to the Plans. To the extent this Request seeks documents and communications

between TIAA and NYU or CLC, TIAA refers Plaintiffs to its responses to Request Nos. 1 and


2.


        REQUEST NO. 5:


        Documents related to monthly and yearly trial balance reports, including but not
limited to market value, plan activity summaries, fund activity, certified trial balances,
summary of net trust assets, and loan activityfor the Plans and/or the Other NYU Plans.

        RESPONSE TO REQUEST NO. 5:


        TIAA objects to this Request as overly broad and unduly burdensome to the extent it


purports to seek all "documents related to" monthly and yearly trial balance reports, including

but not limited to market value, plan activity summaries, fund activity, certified trial balances,


summary of net trust assets, and loan activity. TIAA also objects to the term "trial balance


reports" as vague and ambiguous. TIAA further objects to this Request as not relevant to any


party's claims or defenses to the extent it purports to require TIAA to produce documents


regarding participant loan activity, since there are no allegations regarding such loan activity in


the Complaint. To the extent this Request seeks documents and communications that are internal

to TIAA and were not shared with NYU or CLC, TIAA objects on the grounds that such requests


are overbroad and unduly burdensome, seek irrelevant information, and are not proportional to


the needs of the case and TIAA's status as a non-party. Pursuant to an agreement with Plaintiffs'

counsel, TIAA will not search for internal TIAA e-mails. TIAA also objects to this Request on



                                                 20




                                                                                                 EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 21 of 37




the grounds that documents and communications between TIAA and NYU or CLC are already in

the possession of parties to the Action, primarily or exclusively within the parties' knowledge or

control, obtainable from some other source that is less burdensome or less expensive, or already

produced by or requested from other parties.


       Subject to and without waiving the foregoing general and specific objections, TIAA


states that it is producing annual Form 5500 report packages for the Plans, which are sufficient to


show annual plan reporting provided to NYU. To the extent this Request seeks documents and


communications between TIAA and NYU or CLC, TIAA refers Plaintiffs to its responses to

Request Nos. 1 and 2.


       REQUEST NO. 6:


       Documents related to invoices, reconciliation reports, statements, and related
documents relating to the Plans and/or the Other NYU Plans.

       RESPONSE TO REQUEST NO. 6:


       TIAA objects to this Request as overly broad and unduly burdensome to the extent it


purports to seek all "documents related to" invoices, reconciliation reports, and statements.


TIAA objects to the terms "invoices," "reconciliation reports," "statements," and "related


documents" as vague and ambiguous. To the extent this Request seeks documents and


communications that are internal to TIAA and were not shared with NYU or CLC, TIAA objects

on the grounds that such requests are overbroad and unduly burdensome, seek irrelevant


information, and are not proportional to the needs of the case and TIAA's status as a non-party.


Pursuant to an agreement with Plaintiffs' counsel, TIAA will not search for internal TIAA e-


mails. TIAA also objects to this Request on the grounds that documents and communications


between TIAA and NYU or CLC are already in the possession of parties to the Action, primarily




                                                21




                                                                                                EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 22 of 37




or exclusively within the parties' knowledge or control, obtainable from some other source that

is less burdensome or less expensive, or already produced by or requested from other parties.

       Subject to and without waiving the foregoing general and specific objections, TIAA

states that it is producing annual Form 5500 report packages for the Plans, which are sufficient to

show annual plan reporting provided to NYU. In addition, TIAA states that it has produced

quarterly account statements for the Named Plaintiffs for the first quarter of 2010 through the

third quarter of 2016. To the extent this Request seeks documents and communications between


TIAA and NYU or CLC, TIAA refers Plaintiffs to its responses to Request Nos. 1 and 2.


       REQUEST NO. 7:


       Documents related to anyfee waivers, free services, discounted services, services
provided at a reducedfee by TIAA-CREF to: (i) NYU; (ii) the Plans; and/or (iii) the Other
NYU Plans

       RESPONSE TO REQUEST NO. 7:


       TIAA objects to this Request as overly broad and unduly burdensome to the extent it


purports to seek all "documents related to" fee waivers, free services, discounted services, and


services provided at a reduced fee. TIAA further objects to this Request as overly broad, unduly


burdensome, and not relevant to any party's claim or defense to the extent that it purports to


require TIAA to produce documents relating to services not offered as part of the Plans. To the


extent this Request seeks documents and communications that are internal to TIAA and were not


shared with NYU or CLC, TIAA objects on the grounds that such requests are overbroad and

unduly burdensome, seek irrelevant information, and are not proportional to the needs of the case


and TIAA's status as a non-party. Pursuant to an agreement with Plaintiffs' counsel, TIAA will


not search for internal TIAA e-mails. TIAA also objects to this Request on the grounds that


documents and communications between TIAA and NYU or CLC are already in the possession

of parties to the Action, primarily or exclusively within the parties' knowledge or control,



                                                 22




                                                                                                  EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 23 of 37




obtainable from some other source that is less burdensome or less expensive, or already

produced by or requested from other parties.


         Subject to and without waiving the foregoing general and specific objections, TIAA

states that it is producing recordkeeping agreements between NYU and TIAA relevant to the


Plans during the period August 9, 2009 to present, and will produce documents sufficient to

show funds available to NYU through its revenue credit account for the Plans, to the extent such

documents are created in the ordinary course of business. TIAA states that it has produced

quarterly account statements for the Named Plaintiffs for the first quarter of 2010 through the


third quarter of 2016. TIAA also will produce documents sufficient to show any fee waivers,


free services, discounted services, and services provided at a reduced fee TIAA provided to NYU

or the Plans. To the extent this Request seeks documents and communications between TIAA


and NYU or CLC, TIAA refers Plaintiffs to its responses to Request Nos. 1 and 2.


         REQUEST NO. 8:


      Documents that reflect or relate to the potential or actual Compensation, including
revenue sharing, which is available to TIAA-CREF, NYU, the Plans, and the Other NYU
Plans.


         RESPONSE TO REQUEST NO. 8;


         TIAA objects to this Request as overly broad and unduly burdensome to the extent it


purports to seek all "documents that reflect or relate to" the potential or actual compensation,


including revenue sharing, available to TIAA, NYU, and the plans. To the extent this Request


seeks documents and communications that are internal to TIAA and were not shared with NYU


or CLC, TIAA objects on the grounds that such requests are overbroad and unduly burdensome,


seek irrelevant information, and are not proportional to the needs of the case and TIAA's status


as a non-party. Pursuant to an agreement with Plaintiffs' counsel, TIAA will not search for


internal TIAA e-mails. TIAA also objects to this Request on the grounds that documents and



                                                 23




                                                                                                   EX. 2
     Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 24 of 37




communications between TIAA and NYU or CLC are already in the possession of parties to the

Action, primarily or exclusively within the parties' knowledge or control, obtainable from some

other source that is less burdensome or less expensive, or already produced by or requested from

other parties.


        Subject to and without waiving the foregoing general and specific objections, TIAA


states that it is producing annual Form 5500 report packages and ERISA §§ 404(a)(5) and

408(b)(2) fee disclosures for the Plans, which are sufficient to show all compensation TIAA


received relating to the plans. To the extent this Request seeks documents and communications

between TIAA and NYU or CLC, TIAA refers Plaintiffs to its responses to Request Nos. 1 and


2.


        REQUEST NO. 9:


        Participant level transaction or trading records for the Plans from January 1, 2009
through the present date. In the event this information contains no unique participant
identifying numbers other than social security numbers, this request includes the production
ofparticipants ' social security numbers.

        RESPONSE TO REQUEST NO. 9:


        TIAA objects to this Request as overly broad and unduly burdensome to the extent it


purports to seek participant level transaction or trading records for all participants in the Plans.


TIAA also objects to the terms "transaction or trading records" as vague and ambiguous to the


extent that they do not identify with particularity the types of records sought. TIAA objects to


this Request to the extent that it purports to require TIAA to create or generate documents that do


not currently exist. TIAA further objects to the Request to the extent it purports to seek


disclosure of personally identifiable information. Pursuant to an agreement with Plaintiffs,


Plaintiffs and TIAA will agree upon a proposed Supplemental Protective Order addressing the


production of documents containing social security numbers for the Court's approval.




                                                  24




                                                                                                   EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 25 of 37




       Subject to and without waiving the foregoing general and specific objections, TIAA

states that it will produce participant transaction data for the Named Plaintiffs for the Plans

during the period August 9, 2009 to the date of collection. In addition, TIAA states that it will

produce reports regularly provided to NYU containing participant transactional data, if any.

       REQUEST NO. 10:


       All documents relating to potential consolidation of recordkeeping services for the
Plans and/or Other NYU Plans, including documents created in response to an RFP.

       RESPONSE TO REQUEST NO. 10:


       TIAA objects to this Request as overly broad and unduly burdensome to the extent it

purports to seek "all documents relating to" potential consolidation of recordkeeping services.

To the extent this Request seeks documents and communications that are internal to TIAA and


were not shared with NYU or CLC, TIAA objects on the grounds that such requests are


overbroad and unduly burdensome, seek irrelevant information, and are not proportional to the

needs of the case and TIAA's status as a non-party. Pursuant to an agreement with Plaintiffs'

counsel, TIAA will not search for internal TIAA e-mails. TIAA also objects to this Request on


the grounds that documents and communications between TIAA and NYU or CLC are already in


the possession of parties to the Action, primarily or exclusively within the parties' knowledge or

control, obtainable from some other source that is less burdensome or less expensive, or already


produced by or requested from other parties.


        Subject to and without waiving the foregoing general and specific objections, TIAA


states that it will conduct a reasonable search and produce responsive, non-privileged documents


created in response to an RFP relating to potential consolidation of recordkeeping services for

the Plans. To the extent this Request seeks documents and communications between TIAA and


NYU or CLC, TIAA refers Plaintiffs to its responses to Request Nos. 1 and 2.




                                                  25




                                                                                                  EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 26 of 37




       REQUEST NO. 11:


       All documents relating to altering or streamlining investment option lineups in the
Plans and/or Other NYU Plans, including documents created in response to an RFP.

       RESPONSE TO REQUEST NO. 11;


       TIAA objects to this Request as overly broad and unduly burdensome to the extent it

purports to seek "all documents relating to" altering or streamlining investment option lineups.

To the extent this Request seeks documents and communications that are internal to TIAA and

were not shared with NYU or CLC, TIAA objects on the grounds that such requests are

overbroad and unduly burdensome, seek irrelevant information, and are not proportional to the


needs of the case and TIAA's status as a non-party. Pursuant to an agreement with Plaintiffs'

counsel, TIAA will not search for internal TIAA e-mails. TIAA also objects to this Request on


the grounds that documents and communications between TIAA and NYU or CLC are already in


the possession of parties to the Action, primarily or exclusively within the parties' knowledge or


control, obtainable from some other source that is less burdensome or less expensive, or already

produced by or requested from other parties.


        Subject to and without waiving the foregoing general and specific objections, TIAA


states that it will conduct a reasonable search and produce responsive, non-privileged documents

created in response to an RFP relating to altering or streamlining investment option lineups to the

Plans. To the extent this Request seeks documents and communications between TIAA and


NYU or CLC, TIAA refers Plaintiffs to its responses to Request Nos. 1 and 2.




                                                 26




                                                                                                EX. 2
    Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 27 of 37




       REQUEST NO, 12;


       All documents relating to complaints you receivedfrom participants in the Plans.

       RESPONSE TO REQUEST NO. 12:


       TIAA objects to this Request as overly broad and unduly burdensome to the extent it


purports to seek "all documents relating to" complaints received for all participants in the Plans.

TIAA objects to the term "complaint" as vague and ambiguous. TIAA further objects to the


Request to the extent it purports to seek disclosure of personally identifiable information.

Pursuant to an agreement with Plaintiffs, Plaintiffs and TIAA will agree upon a proposed


Supplemental Protective Order addressing the production of documents containing social


security numbers for the Court's approval. To the extent this Request seeks documents and


communications that are internal to TIAA and were not shared with NYU or CLC, TIAA objects


on the grounds that such requests are overbroad and unduly burdensome, seek irrelevant


information, and are not proportional to the needs of the case and TIAA's status as a non-party.


Pursuant to an agreement with Plaintiffs' counsel, TIAA will not search for internal TIAA e-


mails. TIAA also objects to this Request on the grounds that documents and communications

between TIAA and NYU or CLC are already in the possession of parties to the Action, primarily


or exclusively within the parties' knowledge or control, obtainable from some other source that


is less burdensome or less expensive, or already produced by or requested from other parties.


        Subject to and without waiving the foregoing general and specific objections, TIAA


states that it will produce a report reflecting complaints to TIAA by participants in the Plans as

well as responses by TIAA to those complaints. To the extent this Request seeks documents and

communications between TIAA and NYU or CLC, TIAA refers Plaintiffs to its responses to


Request Nos. 1 and 2.




                                                 27




                                                                                                 EX. 2
    Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 28 of 37




       REQUEST NO. 13:


       All documents relating to any investment advisory services offered to participants in the
Plans, including any services provided by Ibbotson.

       RESPONSE TO REQUEST NO. 13:


       TIAA objects to this Request as overly broad and unduly burdensome to the extent it


purports to seek "all documents relating to" investment advisory services offered to participants


in the Plans. To the extent this Request seeks documents and communications that are internal to

TIAA and were not shared with NYU or CLC, TIAA objects on the grounds that such requests


are overbroad and unduly burdensome, seek irrelevant information, and are not proportional to

the needs of the case and TIAA's status as a non-party. Pursuant to an agreement with Plaintiffs'

counsel, TIAA will not search for internal TIAA e-mails. TIAA also objects to this Request on


the grounds that documents and communications between TIAA and NYU or CLC are already in

the possession of parties to the Action, primarily or exclusively within the parties' knowledge or

control, obtainable from some other source that is less burdensome or less expensive, or already

produced by or requested from other parties.


        Subject to and without waiving the foregoing general and specific objections, TIAA

states that it will produce documents sufficient to show investment advisory services offered to


participants in the Plans by Ibbotson as part of the bundled services for the Plans. To the extent


this Request seeks documents and communications between TIAA and NYU or CLC, TIAA

refers Plaintiffs to its responses to Request Nos. 1 and 2.




                                                 28




                                                                                                EX. 2
    Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 29 of 37




       REQUEST NO. 14:


     All documents relating to the performance of the CREF Stock Account, including
documents relating to its suitability as an investment option in 403(b) retirement plans.

       RESPONSE TO REQUEST NO. 14:


       TIAA objects to this Request as overly broad and unduly burdensome to the extent it

purports to seek "all documents relating to" the performance of CREF Stock and its suitability as

an investment option in 403(b) retirement plans. To the extent this Request seeks documents and

communications that are internal to TIAA and were not shared with NYU or CLC, TIAA objects

on the grounds that such requests are overbroad and unduly burdensome, seek irrelevant

information, and are not proportional to the needs of the case and TIAA's status as a non-party.


Pursuant to an agreement with Plaintiffs' counsel, TIAA will not search for internal TIAA e-


mails. TIAA also objects to this Request on the grounds that documents and communications

between TIAA and NYU or CLC are already in the possession of parties to the Action, primarily

or exclusively within the parties' knowledge or control, obtainable from some other source that

is less burdensome or less expensive, or already produced by or requested from other parties.

TIAA objects to this Request to the extent that documents relating to the "suitability" of CREF


Stock as an investment option in 403(b) retirement plans purports to require the production of

documents that are protected by the attorney-client privilege, the attorney work-product doctrine,


and/or any other additional available privilege, immunity, or protection or the disclosure of


which is not permitted by federal, state, or any other applicable law or regulation.


        Subject to and without waiving the foregoing general and specific objections, TIAA

states that it will produce documents sufficient to show the performance of the CREF Stock

Account during the relevant period. To the extent this Request seeks documents and




                                                 29




                                                                                                EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 30 of 37




communications between TIAA and NYU or CLC, TIAA refers Plaintiffs to its responses to


Request Nos. 1 and 2.


       REQUEST NO. 15:


     All documents relating to the performance of the TIAA Real Estate Account, including
documents relating to its suitability as an investment option in 403(b) retirement plans.

       RESPONSE TO REQUEST NO. 15:


       TIAA objects to this Request as overly broad and unduly burdensome to the extent it

purports to seek "all documents relating to" the performance of the TIAA Real Estate Account


and its suitability as an investment option in 403(b) retirement plans. To the extent this Request

seeks documents and communications that are internal to TIAA and were not shared with NYU


or CLC, TIAA objects on the grounds that such requests are overbroad and unduly burdensome,


seek irrelevant information, and are not proportional to the needs of the case and TIAA's status


as a non-party. Pursuant to an agreement with Plaintiffs' counsel, TIAA will not search for

internal TIAA e-mails. TIAA also objects to this Request on the grounds that documents and

communications between TIAA and NYU or CLC are already in the possession of parties to the


Action, primarily or exclusively within the parties' knowledge or control, obtainable from some


other source that is less burdensome or less expensive, or already produced by or requested from


other parties. TIAA objects to this Request to the extent that documents relating to the


"suitability" of the TIAA Real Estate Account as an investment option in 403(b) retirement plans


purports to require the production of documents that are protected by the attorney-client


privilege, the attorney work-product doctrine, and/or any other additional available privilege,

immunity, or protection or the disclosure of which is not permitted by federal, state, or any other

applicable law or regulation.




                                                 30




                                                                                                  EX. 2
    Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 31 of 37




       Subject to and without waiving the foregoing general and specific objections, TIAA

states that it will produce documents sufficient to show the performance of the TIAA Real Estate

Account during the relevant period. To the extent this Request seeks documents and

communications between TIAA and NYU or CLC, TIAA refers Plaintiffs to its responses to

Request Nos. 1 and 2.


       REQUEST NO. 16;


       All documents relating to the ability of otherfirms to provide recordkeeping services
for 403(b) retirement plan investment options offered by TIAA-CREF.

       RESPONSE TO REQUEST NO. 16:


       TIAA objects to this Request as overly broad and unduly burdensome to the extent it


purports to seek "all documents relating to" the ability of other firms to provide recordkeeping


services for TIAA investment options. To the extent this Request seeks documents and


communications that are internal to TIAA and were not shared with NYU or CLC, TIAA objects

on the grounds that such requests are overbroad and unduly burdensome, seek irrelevant


information, and are not proportional to the needs of the case and TIAA's status as a non-party.


Pursuant to an agreement with Plaintiffs' counsel, TIAA will not search for internal TIAA e-


mails. TIAA also objects to this Request on the grounds that documents and communications

between TIAA and NYU or CLC are already in the possession of parties to the Action, primarily


or exclusively within the parties' knowledge or control, obtainable from some other source that


is less burdensome or less expensive, or already produced by or requested from other parties.


TIAA objects to this Request to the extent that it purports to require the production of documents


that are protected by the attorney-client privilege, the attorney work-product doctrine, and/or any

other additional available privilege, immunity, or protection or the disclosure of which is not


permitted by federal, state, or any other applicable law or regulation.




                                                 31




                                                                                                  EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 32 of 37




       Subject to and without waiving the foregoing general and specific objections, TIAA

states that it will produce approved talking points or other client materials reflecting the ability of

other firms to provide recordkeeping services for 403(b) retirement plan investment options

offered by TIAA. To the extent this Request seeks documents and communications between

TIAA and NYU or CLC, TIAA refers Plaintiffs to its responses to Request Nos. 1 and 2.

       REQUEST NO. 17:


        All documents relating to the ability of 403(b) retirement plan sponsors and/or
fiduciaries to remove TIAA-CREF investment options, such as the CREF Stock Account,
 TIAA Real Estate Account, and the TIAA Traditional Annuity, from their retirement plan
lineups.


        RESPONSE TO REQUEST NO. 17:


        TIAA objects to this Request as overly broad and unduly burdensome to the extent it


purports to seek "all documents relating to" the ability of plan sponsors and/or fiduciaries to


remove TIAA investment options from their retirement plan lineups. To the extent this Request


seeks documents and communications that are internal to TIAA and were not shared with NYU

or CLC, TIAA objects on the grounds that such requests are overbroad and unduly burdensome,


seek irrelevant information, and are not proportional to the needs of the case and TIAA's status


as a non-party. Pursuant to an agreement with Plaintiffs' counsel, TIAA will not search for


internal TIAA e-mails. TIAA also objects to this Request on the grounds that documents and


communications between TIAA and NYU or CLC are already in the possession of parties to the


Action, primarily or exclusively within the parties' knowledge or control, obtainable from some


other source that is less burdensome or less expensive, or already produced by or requested from

other parties. TIAA objects to this Request to the extent that it purports to require the production


of documents that are protected by the attorney-client privilege, the attorney work-product




                                                  32




                                                                                                   EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 33 of 37




doctrine, and/or any other additional available privilege, immunity, or protection or the


disclosure of which is not permitted by federal, state, or any other applicable law or regulation.


       Subject to and without waiving the foregoing general and specific objections, TIAA


states that it has produced TIAA Traditional participant annuity contracts and/or certificates for


the Named Plaintiffs. In addition, TIAA will produce approved talking points or other client


materials reflecting the ability of NYU to remove TIAA investment options, such as the CREF


Stock Account, TIAA Real Estate Account, and the TIAA Traditional Annuity, from the Plans.


To the extent this Request seeks documents and communications between TIAA and NYU or


CLC, TIAA refers Plaintiffs to its responses to Request Nos. 1 and 2.




 Dated: September 18, 2017                         Respectfully submitted,



                                                   Wilmer Cutler Pickering
                                                     Hale and Dorr LLP
                                                   Lori A. Martin
                                                   Brad E. Konstandt
                                                   7 World Trade Center
                                                   250 Greenwich Street
                                                  New York, NY 10007
                                                   (212) 230-8800 (t)
                                                   (212) 230-8888 (f)
                                                   lori . martin@wi lmerhale . com
                                                  brad.konstandt@wi lmerhale .com


                                                  Attorneys for Teachers Insurance and Annuity
                                                  Association ofAmerica




                                                33




                                                                                                 EX. 2
    Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 34 of 37




                                        EXHIBIT 1


Any one of the following terms:

@nyu.edu
@med.nyu.edu
(NYU OR "New York University" OR Langone OR Square) AND @cammackretirement.com

AND any one of the following terms:

lineup\!
(plan w/1 cost\!)
(plan w/1 fee\!)
(plan w/1 pric\!)
(plan w/1 expensed)
duplicate
(sole w/1 recordkeepd)
(record w/1 keep\!)
("plan service" w/1 expensed)
consolidatd
(revenue w/3 shard)
"per participant"
"asset based"
("basis point" w/3 pricing)
(revenue w/3 requird)
(revenue w/3 offset) !)
(revenue w/3 credit)!)
(revenue w/3 mind)
mortality
(Admin)! w/2 (expense)! OR fee)! OR charge)!))
Distributd w/2 (expense)! OR fee)! OR charge)!))
(Mortality w/2 (expense)! OR fee)! OR charge)!))
(Advis)! w/2 (expense)! OR fee)! OR charge)!))
"Real Estate Account"
REA
(TIAA w/3 ("REA" or "real estate"))
liquidity w/3 guarantee
liquidity w/3 restriction
liquidity w/3 buffer
CREF w/3 stock
"Stock Account"
surrender
"lump sum"
"lifetime income"
(legacy w/10 (contract)! or asset)!))
((CREF w/10 money) and (market or "money market" or MM))
(companion w/5 contract)!)



                                              34




                                                                             EX. 2
     Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 35 of 37




(contract w/5 "individually owned")
RC
"retirement choice annuity"
RCP
"retirement choice plus annuity"
(RA w/10 contract!)
"retirement annuity"
(GRA w/10 contract!)
"group retirement annuity"
GSRA
"group supplemental retirement annuity"
SRA
"supplemental retirement annuity"
TPA
"transfer payout annuity"
("employer funded" w/1 contract^)
("employee funded" w/1 contract!)
("participant funded" w/1 contract!)
bundl\!
annuitiz\!
"crediting rate"
vintage\!
Mapping
"mutual fund analysis"
"strategic relationship plan"
"investment review"
"annual review"
"business planning"
(Consultant w/5 engaged)
"fiduciary review"
SRK
5500
RFP
"request for proposal"
"open architecture"
PTE
Prohibited w/3 transaction
share w/3 class
(institutional w/3 (share or class))
(retail w/3 (share or class))
retirement w/3 (share or class))
(premier w/3 (share or class))
(advisor w/3 (share or class))




                                          35




                                                                     EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 36 of 37




                              EXHIBIT 2


(best w/3 class)
Streamlined




                                  36




                                                                   EX. 2
   Case 1:16-cv-06284-AT Document 298-2 Filed 04/19/18 Page 37 of 37




                                    CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on September 18, 2017, 1 caused true and correct copies of

Non-Party TIAA's Objections and Responses to Plaintiffs' Subpoena to Produce Documents,

Information, or Objects or to Permit Inspection of Premises in a Civil Action to be served via e-

mail to the following counsel:


 Andrew D. Schlichter                             Mark Muedeking
 Jerome J. Schlichter                             Ian C. Taylor
 Ethan D. Hatch                                   Juliya Ben-Zev
 James Redd, IV                                   DLA PIPER LLP (US)
 Stephen M. Hoeplinger                            500 8th Street, NW
 SCHLICHTER BOGARD & DENTON, LLP                  Washington, DC 20004
 100 S. 4th Street, Ste. 1200                     (202) 799-4240 (t)
 St. Louis, MO 63102                              (202) 799-5240 (f)
 (314) 621-6115 (t)                               mark.muedeking@dlapiper.com
 (314) 621-5934 (f)                               ian.taylor@dlapiper.com
 aschlichter@uselaws.com                          julie.benzev@dlapiper.com
j schlichter@uselaws .com
 ehtach@uselaws.com                               Brian Kaplan
jredd@uselaws.com                                 Evan D. Parness
 shoeplinger@uselaws.com                          DLA PIPER LLP (US)
                                                  1251 Avenue of the Americas
 Attorneys for Plaintiffs                         New York, NY 10020
                                                  (212)335-4500 (t)
                                                  (212)335-4501 (f)
                                                  brian.kaplan@dlapiper.com
                                                  evan.parness@dlapiper.com


                                                  Attorneys for New York University




                                                     yams, E. Perio




                                                37




                                                                                              EX. 2
